Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 1 of 76




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

   CLARA GILBERT,                 )
                                  )
        Plaintiff,                )
                                  )
   v.                             )                  C.A. No. 1:15-CV-21425
                                  )
   LIBERTY BANKERS LIFE INS. CO., )
                                  )
        Defendant.                )


      REQUEST FOR JURY INSTRUCTIONS, INTERROGATORIES AND
                            VERDICT

   TO THE HONORABLE JUDGE OF SAID COURT:

         COME NOW Plaintiff, Clara Gilbert (“Gilbert”) and Defendant Liberty

   Bankers Life Insurance Company (“Liberty”) and pursuant to the Court’s order file

   this joint set of proposed jury instructions, interrogatories and verdict form and

   each of the parties requests that the Court submit same to the jury as is indicated

   below:

   PLAINTIFF’S REQUESTS

         This is a law suit breach of an life insurance policy that Defendant issued to

   Plaintiff Clara Gilbert, for her son, John Geter, in 2011.       Ms. Gilbert contends

   that the Defendant breached the insurance policy by failing to pay the $100,000 in

   life insurance benefits, after her son’s death.

         Defendant contends that after it was informed of John’s death, in 2012 it

   investigated and learned that he had made a material misrepresentation on the

                                              1
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 2 of 76




   application and an amendment to the application, and therefore they were voiding

   the policy and denying the claim.

           The application for the policy was filled out by Defendant’s enrolled agent,

   James Sanphasiri, who came to Plaintiff’s home in Sept. 2011, with another agent,

   Ed Palacios. Plaintiff contends that a third agent was present, a man named Joe

   Christopher.

           The parties stipulated that Sanphasiri filled out the application based on the

   answers provided by Gilbert and her son. The Application required the applicant

   to provide answers that were true and complete only to “the best of my knowledge

   and belief.”    The Defendant’s defense to the claim is centered on the answer to

   Question 28 on John’s application.

           Question 28. Has the Proposed Insured been tested positive for exposure to
           the HIV infection or been diagnosed as having ARC or AIDS caused by the
           HIV infection or other sickness or condition derived from such infection?

   It is undisputed that the question was answered “Yes” but then the “Yes” was

   crossed out by Sanphasiri, whom put his initials on it and then answered the

   question, “No.”      Ms. Gilbert contends that she told the agents that John has

   testd positive for HIV and that the answer to number 28, was “Yes.” But she also

   contends that Christopher told Sanphasiri to change the answer to no. 28 and

   initial it.




                                              2
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 3 of 76




         Defendant concedes that Plaintiff or her son told the agents that Geter was

   born with HIV, but claim that they also told him that he had tested negative in the

   past, but that the later was a misrepresentation.

          Although Liberty’s underwriting standards for that type and amount of

   coverage required “HIV Testing Required at $100,000, the parties agree that the

   policy was issued without any such testing.

         Plaintiff made a claim on the subject policy in December 2012, and provided

   requested claims documents in January 2013. On May 8, 2013, Defendant denied

   coverage and purported to void the policy

         Liberty contends that Plaintiff’s son made a misrepresentation on the policy.
   Plaintiff denies that any misrepresentation was made by her or her son, and that
   the agents knew of John’s HIV status, and that Liberty knew or should have known
   of John’s HIV status from other sources, and waived its right to rescind the policy
   and deny the claim.


   Defendant objects to the Plaintiff’s statement of the case for the following reasons:
         1.     The statement is devoid of material facts regarding the Plaintiff’s
                fraud, misrepresentations and acts that preclude her from recovering
                in this case. The material facts, with reference to the evidence that
                supports them, are set forth in the Defendant’s briefing pertaining to
                its motion for summary judgment.
         2.     The statement is incomplete and takes isolated facts out of context.
                As such, it is inaccurate.
         3.     The statement is unnecessary. The evidence will be established at
                trial and it is that evidence that the jury must consider—not an
                isolated set of purported facts that the Plaintiff would like the Court or
                jury to consider in a vacuum.



                                             3
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 4 of 76




        4.    The Plaintiff has no authority to provide such a statement to the jury.
              It is not an instruction, a question or a verdict.




                                          4
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 5 of 76




   Pattern Jury Instructions

   2.2 - Consideration of the Evidence, Corp Entity
   3.0 - Credibility of the Witnesses
   4.1 - Impeachment
   6.1 - Burden of Proof
   7.1 - Duty to Deliberate




                                              5
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 6 of 76




   Special Instructions


                                           No. 1

          An insurance policy is a contract. Defendant may void the policy if the
   insured knowingly made a material misrepresentation on the application. You are
   instructed that a material misrepresentation is one that had the insurer known the
   truth it would either not issue the policy at all, or issue it but at a higher premium.
   However, if an insurer has knowledge of the misrepresentation and still issues the
   policy anyway, or otherwise waives that misrepresentation, it cannot deny the
   claim or void the policy.




                                                        GRANTED

                                                        DENIED




   Defendant objects to Special Instruction No. 1 on the following grounds:
         1. It is an incorrect statement of the law. The law provides, in relevant part,
                that:
                (1) Any statement or description made by or on behalf of an
                insured or annuitant in an application for an insurance policy or
                annuity contract, or in negotiations for a policy or contract, is a
                representation and not a warranty. Except as provided in
                subsection (3), a misrepresentation, omission, concealment of
                fact, or incorrect statement may prevent recovery under the
                contract or policy only if any of the following apply:
                (a) The misrepresentation, omission, concealment, or statement
                is fraudulent or is material to the acceptance of the risk or to the
                hazard assumed by the insurer.
                (b) If the true facts had been known to the insurer pursuant to a
                policy requirement or other requirement, the insurer in good
                faith would not have issued the policy or contract, would not

                                              6
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 7 of 76




               have issued it at the same premium rate, would not have issued
               a policy or contract in as large an amount, or would not have
               provided coverage with respect to the hazard resulting in the
               loss.
         Fla. Stat. Ann. § 627.409.
         2.    The instruction includes language that “if an insurer has knowledge of
               the misrepresentation and still issues the policy anyway…” it cannot
               deny the claim or void the policy. Not only is this statement contrary
               to Section 627.409 as set forth above, it also goes beyond the bounds
               of the Plaintiff’s contentions in the joint pretrial order. The only
               disputed issue of fact regarding knowledge set forth by the Plaintiff
               was “Did Liberty have constructive knowledge of John’s HIV?”
               Accordingly, the instruction is overbroad and inappropriate under the
               pleadings.




   Plaintiff’s Source: Hauser v. Life General Sec. Ins. Co., 56 F.3d 1330 (11th Cir.
   1995).




                                           7
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 8 of 76




                                          No. 2

        John Geter was only required to answer the questions to the best of his
   “knowledge and belief.”


                                                       GRANTED

                                                       DENIED


   Defendant objects to Special Instruction No. 2 on the following grounds:
         1.    The instruction fails to accurately state the full and relevant duties that
               Geter had under this provision of the contract. Geter represented that
               “All statements in this application are complete and true and correct to
               the best of my knowledge and belief.” The Green case cited as
               authority by the Plaintiff does not support the instruction requested.
               Instead, in it, the insured “truthfully and accurately denied ‘to the
               best of his knowledge or belief” that he had, among other things,
               cancer or a blood disorder, although each insured subsequently tested
               positive for these conditions.” (Emphasis added). Green v. Life &
               Health of Am., 704 So. 2d 1386, 1390 (Fla. 1998).
         2.    The instruction fails to accurately set forth the law. Pursuant to
               section 627.409, the legislature has mandated that “any
               misrepresentation, innocent or intentional, will void an insurance
               contract if the misrepresentation ‘is material either to the acceptance
               of the risk or to the hazard assumed by the insurer’ or ‘[i]f the true
               facts had been known to the insurer ..., the insurer in good faith would
               not have issued the policy....’Universal Prop. & Cas. Ins. Co. v.
               Johnson, 114 So. 3d 1031, 1037 (Fla. Dist. Ct. App. 2013).




   Plaintiff’s Sources: Green v. Life & Health of Am., 704 So.2d 1386, 1392 (Fla.
   1998); Wimberg v. Chandler, 986 F. Supp 1447 (MD Fl 1997). Hauser v. Life
   General Sec. Ins. Co., 56 F.3d 1330 (11th Cir. 1995); Carter v. United of Omaha
   Life Ins., 685 So.2d 2 (Fla. 1st DCA 1996)(Knowledge and belief language in
   application established less stringent standard than §627.409).
                                             8
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 9 of 76




                                         No. 3

         An insurer may not deny coverage under this statute if the alleged
   misrepresentation was in response to an ambiguous question. Any such ambiguity
   must be construed against the insurer and in favor of coverage.


                                                     GRANTED

                                                     DENIED



   Defendant objects to Special Instruction No. 3 on the following grounds:
         1.    The instruction is vague and ambiguous as it does not specifically
               refer to the statute it is referencing.
         2.    Under Florida law, the issue of whether a contract is ambiguous is a
               question of law. Novoneuron Inc. v. Addiction Research Inst., Inc.,
               326 F. App'x 505, 508 (11th Cir. 2009). A question is only
               ambiguous when it is susceptible to two reasonable interpretations,
               one in which a negative response would be correct and one in which
               an affirmative response would be correct. Mercury Ins. Co. of Florida
               v. Markham, 36 So. 3d 730, 733 (Fla. Dist. Ct. App. 2010). The test is
               objective in the sense that “the issue is whether an objectively
               reasonable person in [the applicant's] situation ... could truthfully
               answer the question in either the affirmative or the negative.”
               Markham, 36 So.3d at 733. See also Travelers Cas. & Sur. Co. of
               Am. v. Mader Law Grp., LLC, No. 8:13-CV-2577-T-26TGW, 2014
               WL 5325745, at *7 (M.D. Fla. Oct. 20, 2014). Here, Question 28 is
               not ambiguous as a matter of law and the instruction should not be
               given.




   Plaintiff’s Source: Mercury Ins. Co. v. Markham, 36 So.3d 730, 733 (Fla. 1st DCA
   2010).


                                           9
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 10 of 76




                                         No. 4

        An insurer is generally charged with knowledge which has been
   communicated to the agent by the insured.


                                                     GRANTED

                                                     DENIED



   Defendant objects to Special Instruction No. 4 on the following grounds:
         1.    It is an incomplete and/or inaccurate statement of the law under the
               circumstances presented here. The terms of the Application itself
               provided “No agent has authority to waive any answer or otherwise
               modify this application or to bind Liberty Bankers Life Insurance
               Company, hereinafter called ‘Company’, in any way by making any
               promises or representation which is not set out in writing in this
               Application.” Accordingly, the agents could not bind Liberty to
               contracting because the written application expressly states that they
               could not. See Almerico v. RLI Ins. Co., 716 So. 2d 774, 781 (Fla.
               1998). Moreover, by this language, Plaintiff was put on notice to
               inquire as to the actual authority of the agents and Liberty is not
               bound to their representations. Id.
         2.    Likewise, the agents were independent brokers, and the evidence will
               show that Plaintiff knew that. As such, Plaintiff knew of the
               limitations on actual authority. See id.
         3.    Further, as a general rule, independent brokers like those here, are
               agents of the insured. See id. In Essex Ins. Co. v. Zota, 985 So.2d
               1036, 1046 (Fla.2008), the Florida Supreme Court noted that the
               “‘distinction between an agent and a broker is important because acts
               of an agent are imputable to the insurer, and acts of a broker are
               imputable to the insured.’ ” Zawilski v. Golden Rule Ins. Co., No.
               8:10-CV-1222-T-33AEP, 2011 WL 3359658, at *4 (M.D. Fla. Aug. 4,
               2011).



                                           10
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 11 of 76




   Plaintiff’s Source: S. Rack & Ladder, Inc. v. Sexton, 474 So.2d 847, 849 (Fla. 1st
   DCA. 1985).




                                          11
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 12 of 76




                                         No. 5

         An insurance broker may act in the dual capacity of broker for the insured
   and agent of the insurer.


                                                      GRANTED

                                                      DENIED




   Defendant objects to Special Instruction No. 5 on the following grounds:
         1.    There will be no evidence that Sanpharisi, Palacios or anyone else
               allegedly involved with the Application were other than independent
               brokers. Following Almerico, the Supreme Court in Essex, supra,
               made it clear that when independent brokers are involved, the acts of
               the broker are imputable not to the insurer, but instead to the insured.
               See Essex Ins. Co. v. Zota, 985 So.2d 1036, 1046 (Fla.2008).




   Plaintiff’s Sources: Almerico v. RLI Ins. Co., 716 So.2d 774 (Fla. 1998); Steele v.
   Jackson Nat’l Life Ins. Co., 691 So.2d 525, 527 (Fla. 5th DCA 1997)
   (acknowledging that “an independent insurance agent can be the agent of the
   insurance company for one purpose and the agent of the insured for another.”)




                                           12
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 13 of 76




         No. 6

         An insurer may be held accountable for the actions of those whom it cloaks
   with “apparent agency.”


                                                        GRANTED

                                                        DENIED


   Defendant objects to Special Instruction No. 6 on the following grounds:
         1.      There will be no evidence that Sanpharisi, Palacios or anyone else
                 allegedly involved with the Application were other than independent
                 brokers. Following Almerico, the Supreme Court in Essex, supra,
                 made it clear that when independent brokers are involved, the acts of
                 the broker are imputable not to the insurer, but instead to the insured.
                 See Essex Ins. Co. v. Zota, 985 So.2d 1036, 1046 (Fla.2008).
         2.      It is an incomplete and/or inaccurate statement of the law under the
                 circumstances presented here. The terms of the Application itself
                 provided “No agent has authority to waive any answer or otherwise
                 modify this application or to bind Liberty Bankers Life Insurance
                 Company, hereinafter called ‘Company’, in any way by making any
                 promises or representation which is not set out in writing in this
                 Application.” Accordingly, the agents could not bind Liberty to
                 contracting because the written application expressly states that they
                 could not. See Almerico v. RLI Ins. Co., 716 So. 2d 774, 781 (Fla.
                 1998). Moreover, by this language, Plaintiff was put on notice to
                 inquire as to the actual authority of the agents and Liberty is not
                 bound to their representations. Id




   Plaintiff’s Sources: Almerico v. RLI Ins. Co., 716 So.2d 774 (Fla. 1998)



                                             13
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 14 of 76




                                         No. 7

         Evidence of indicia of agency may be demonstrated if the insurer furnishes
   an insurance agent or agency with “any blank forms, applications, stationery, or
   other supplies to be used in soliciting, negotiating, or effecting contracts of
   insurance.”



                                                      GRANTED

                                                      DENIED


   Defendant objects to Special Instruction No. 7 on the following grounds:
         1.    Under the circumstances, it is an imcomplete or inaccurate statement
               of the law. The terms of the Application itself provided “No agent has
               authority to waive any answer or otherwise modify this application or
               to bind Liberty Bankers Life Insurance Company, hereinafter called
               ‘Company’, in any way by making any promises or representation
               which is not set out in writing in this Application.” Accordingly, the
               agents could not bind Liberty to contracting because the written
               application expressly states that they could not. See Almerico v. RLI
               Ins. Co., 716 So. 2d 774, 781 (Fla. 1998). Moreover, by this
               language, Plaintiff was put on notice to inquire as to the actual
               authority of the agents and Liberty is not bound to their
               representations. Id.
         2.    It is an incomplete or inaccurate statement of the law under these
               circumstances because the agents were independent brokers, and the
               evidence will show that Plaintiff knew that. As such, Plaintiff knew
               of the limitations on actual authority. See id.




    Plaintiff’s Sources: Almerico v. RLI Ins. Co., 716 So.2d 774 (Fla. 1998); Zawilski
   v. Golden Rule Ins. Co., 2011 WL 33359658 (M.D. Fla. 2011).



                                           14
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 15 of 76




                                         No. 8

         An insurance company’s furnishing of materials to an individual insurance
   representative, and the subsequent acceptance of business from that
   representative, established civil liability by an insurer to an insured in the same
   manner as if the insurer had specifically designated the broker as its agent.

                                                      GRANTED

                                                      DENIED



   Defendant objects to Special Instruction No. 8 on the following grounds:

         1.    The case cited, and the instruction, involve Section 626.342 which
               pertains to unlicensed agents. Neither the case nor the instruction are
               applicable here because there is no dispute that the brokers at issue
               were licensed.

         2.    The instruction and case cited by the Plaintiff as authority is
               inapplicable or an inaccurate statement of the law because it was
               decided before Essex, supra, and does not address: 1) that the Plaintiff
               knew that these were independent brokers; 2) that the application
               itself provided the brokers with no authority; and 3) that by the
               application limitations the Plaintiff was put on inquiry notice of the
               limitations and could not be bound by the representations made by the
               agents/brokers.




   Plaintiff’s Sources: §626.342(2); Straw v. Associated Doctor’s Health & Life, 728
   So.2d 354 (Fla. 5th DCA 1999).




                                           15
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 16 of 76




                                            No. 9

         If an applicant fully states the facts to the agent at the time of the application
   but the agent writes the answers incorrectly or contrary to the facts stated by the
   applicant, the insurance company is estopped from making a defense in an action
   on the policy by reason of the incorrect application.

                                                         GRANTED

                                                         DENIED

   Defendant objects to Special Instruction No. 9 on the following grounds:
         1.     It is an incorrect and inaccurate statement of the law under the
                circumstances presented here. The terms of the Application itself
                provided “No agent has authority to waive any answer or otherwise
                modify this application or to bind Liberty Bankers Life Insurance
                Company, hereinafter called ‘Company’, in any way by making any
                promises or representation which is not set out in writing in this
                Application.” Accordingly, the agents could not bind Liberty to
                contracting because the written application expressly states that they
                could not. See Almerico v. RLI Ins. Co., 716 So. 2d 774, 781 (Fla.
                1998). Moreover, by this language, Plaintiff was put on notice to
                inquire as to the actual authority of the agents and Liberty is not
                bound to their representations. Id.
         2.     It is an incomplete or inaccurate statement of the law under these
                circumstances because the agents were independent brokers, and the
                evidence will show that Plaintiff knew that. As such, Plaintiff knew
                of the limitations on actual authority. See id.
         3.     Moreover, following Almerico, the Supreme Court in Essex, supra,
                made it clear that when independent brokers are involved, the acts of
                the broker are imputable not to the insurer, but instead to the insured.
                See Essex Ins. Co. v. Zota, 985 So.2d 1036, 1046 (Fla.2008).
         4.     The Plaintiff has miscited Stix v. Cont'l Assur. Co., 147 Fla. 783, 786,
                3 So. 2d 703, 704 (1941) as being a 1998 case. In fact, it was decided
                in 1941, long before Almerico and Essex and long before the statute at
                issue, Fla. Stat. Ann. § 627.409, was enacted.



                                             16
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 17 of 76




   Plaintiff’s Sources: Stix v. Continental Assur. Co., 3 So. 2d 703, 707 (Fla. 1998).




                                            17
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 18 of 76




                                         No. 10

         An insured is not responsible for false or incomplete answers inserted by the
   insurer’s agent in an application for insurance even if the insured signs an
   application filled out by the agent without reading it or correcting the answers.


                                                      GRANTED

                                                      DENIED


   Defendant objects to Special Instruction No. 10 on the following grounds:

         1.    It is an incorrect and inaccurate statement of the law under the
               circumstances presented here. The terms of the Application itself
               provided “No agent has authority to waive any answer or otherwise
               modify this application or to bind Liberty Bankers Life Insurance
               Company, hereinafter called ‘Company’, in any way by making any
               promises or representation which is not set out in writing in this
               Application.” Accordingly, the agents could not bind Liberty to
               contracting because the written application expressly states that they
               could not. See Almerico v. RLI Ins. Co., 716 So. 2d 774, 781 (Fla.
               1998). Moreover, by this language, Plaintiff was put on notice to
               inquire as to the actual authority of the agents and Liberty is not
               bound to their representations. Id.

         2.    It is an incomplete or inaccurate statement of the law under these
               circumstances because the agents were independent brokers, and the
               evidence will show that Plaintiff knew that. As such, Plaintiff knew
               of the limitations on actual authority. See id.

         3.    Moreover, following Almerico, the Supreme Court in Essex, supra,
               made it clear that when independent brokers are involved, the acts of
               the broker are imputable not to the insurer, but instead to the insured.
               See Essex Ins. Co. v. Zota, 985 So.2d 1036, 1046 (Fla.2008).

         4.    Further, the Plaintiff has miscited Stix v. Cont'l Assur. Co., 147 Fla.
               783, 786, 3 So. 2d 703, 704 (1941) as being a 1998 case. In fact, it
               was decided in 1941, long before Almerico and Essex and long before
               the statute at issue, Fla. Stat. Ann. § 627.409, was enacted.


                                           18
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 19 of 76




         5.    Further, the cases cited do not stand for the proposition in the
               instruction. In Stix, the insured refused to sign the application until he
               was advised that the facts were none to the insurer. Stix v. Cont'l
               Assur. Co., 147 Fla. 783, 786, 3 So. 2d 703, 704 (1941). S. Rack, 474
               SO.2d 847 has nothing to do with misrepresentations by anyone,
               including independent brokers.



   Plaintiff’s Sources: Stix v. Continental Assur. Co., 3 So. 2d 703, 707 (Fla. 1998) ;
   S. Rack & Ladder, Inc. v. Sexton, 474 So.2d 847, 849 (Fla. 1st DCA. 1985).




                                            19
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 20 of 76




                                         No. 11

         Facts within the knowledge of an authorized representative of an insurer
   while acting within the proper scope of his authority is knowledge of the insurance
   company.


                                                      GRANTED

                                                      DENIED


   Defendant objects to Special Instruction No. 11 on the following grounds:

         1.    It is an incorrect and inaccurate statement of the law under the
               circumstances presented here. The terms of the Application itself
               provided “No agent has authority to waive any answer or otherwise
               modify this application or to bind Liberty Bankers Life Insurance
               Company, hereinafter called ‘Company’, in any way by making any
               promises or representation which is not set out in writing in this
               Application.” Accordingly, the agents could not bind Liberty to
               contracting because the written application expressly states that they
               could not. See Almerico v. RLI Ins. Co., 716 So. 2d 774, 781 (Fla.
               1998). Moreover, by this language, Plaintiff was put on notice to
               inquire as to the actual authority of the agents and Liberty is not
               bound to their representations. Id.

         2.    It is an incomplete or inaccurate statement of the law under these
               circumstances because the agents were independent brokers, and the
               evidence will show that Plaintiff knew that. As such, Plaintiff knew
               of the limitations on actual authority. See id.

         3.    Moreover, following Almerico, the Supreme Court in Essex, supra,
               made it clear that when independent brokers are involved, the acts of
               the broker are imputable not to the insurer, but instead to the insured.
               See Essex Ins. Co. v. Zota, 985 So.2d 1036, 1046 (Fla.2008).
         4.    Further, the Plaintiff relies on a case decided long before Almerico
               and Essex and long before the statute at issue, Fla. Stat. Ann. §
               627.409, was enacted. That case is now inapplicable.

         5.    Further, the case that is cited is distinguishable. In Johnson v. Life
               Ins. Co. of Ga., 52 So. 2d 813, 815 (Fla. 1951), the insurer accepted
                                           20
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 21 of 76




               and retained premiums and failed to investigate after it learned that
               the defendant was suffering from tuberculosis only two months after
               the date of the policy. Here, the evidence will show that Liberty
               investigated as soon as it was on notice that the insured may have
               misrepresented the facts regarding his HIV, and no premiums were
               retained




   Plaintiff’s Source: Johnson v. Life Ins. Co. of Georgia, 52 So.2d 813 (Fla. 1951).




                                            21
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 22 of 76




                                          No. 12

         Where an insurer is on notice that it must itself make further inquiries about
   the insured’s health, it is bound by what a reasonable investigation would have
   shown. If Liberty was aware of John’s HIV status from other sources, such as the
   medical information it obtained before issuing the policy it will not be permitted to
   deny coverage or void the policy.


                                                       GRANTED

                                                       DENIED


   Defendant objects to Special Instruction No. 12 on the following grounds:
         1.     This instruction includes facts not in evidence and is impermissible.
         2.     This instruction impermissibly comments on the weight of the
                evidence.
         2.     This instruction does not properly state the law. See Fla. Stat. Ann. §
                627.409; Essex, supra; Almerico, supra. In fact, it is clear under both
                Florida statutory and case law that an insurer has no duty to
                investigate information provided by an applicant. See Sciaretta v.
                Lincoln Nat. Life Ins. Co., 899 F. Supp. 2d 1318, 1330 (S.D. Fla.
                2012); Fla. Stat. § 627.404(3) (2011) (“An insurer shall be entitled to
                rely upon all statements, declarations, and representations made by an
                applicant for insurance relative to the insurable interest which such
                applicant has in the insured....”); United Auto. Ins. Co. v. Salgado, 22
                So.3d 594, 601 (Fla. 3d DCA 2009) (“[A]n insurance company has
                the right to rely on an applicant's representations in an application for
                insurance and is under no duty to further investigate”) (quoting N.
                Miami Gen. Hosp. v. Cent. Nat'l Life Ins. Co., 419 So.2d 800, 802
                (Fla. 3d DCA 1982)).

   Plaintiff’s Sources: Cox v. American Pioneer Life Ins. Co., 626 So2d 243 (Fla. 5th
   DCA 1993), Wimberg v. Chandler, 986 F. Supp 1447 (MD Fl 1997).



                                            22
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 23 of 76




                                         No. 13

         Additionally, if Liberty’s underwriting guidelines required an HIV test
   before issuing the policy, Liberty cannot deny coverage if the HIV test would have
   shown that the answer to no. 28 should have been yes.



                                                      GRANTED

                                                      DENIED


   Defendant objects to Special Instruction No. 13 on the following grounds:
         1.    This instruction does not properly state the law under these
               circumstances. The Cox case cited by the Plaintiff does not foreclose
               the denial of coverage. Instead it addresses whether the jury could
               determine that the misrepresentations were material.
         2.    The Wimberg case cited by the Plaintiff, 986 F.Supp. 1447 (M.D. Fl.
               1997) involved renewal of a policy and accepting and retaining
               premiums after the insurer knew that a misrepresentation had been
               made. In Wimberg, there was no discussion of whether the agent was
               an independent broker and the case was decided before both Essex
               and Almerico, both Florida Supreme Court decisions, clarified the law
               in this regard.
         3.    Further, this instruction does not properly state the current law. See
               Fla. Stat. Ann. § 627.409; Essex, supra; Almerico, supra. In fact, it is
               clear under both Florida statutory and case law that an insurer has no
               duty to investigate information provided by an applicant. See Sciaretta
               v. Lincoln Nat. Life Ins. Co., 899 F. Supp. 2d 1318, 1330 (S.D. Fla.
               2012); Fla. Stat. § 627.404(3) (2011) (“An insurer shall be entitled to
               rely upon all statements, declarations, and representations made by an
               applicant for insurance relative to the insurable interest which such
               applicant has in the insured....”); United Auto. Ins. Co. v. Salgado, 22
               So.3d 594, 601 (Fla. 3d DCA 2009) (“[A]n insurance company has
               the right to rely on an applicant's representations in an application for
               insurance and is under no duty to further investigate”) (quoting N.


                                           23
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 24 of 76




               Miami Gen. Hosp. v. Cent. Nat'l Life Ins. Co., 419 So.2d 800, 802
               (Fla. 3d DCA 1982)).



   Plaintiff’s Sources: Cox v. American Pioneer Life Ins. Co., 626 So2d 243 (Fla. 5th
   DCA 1993); Wimberg v. Chandler, 986 F. Supp 1447 (MD Fl 1997).




                                          24
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 25 of 76




                                            Verdict

         1.     Did John Geter knowingly make a material misrepresentation to on
                the application?

                Yes _________,                    No _________

                If your answer is “No” then your verdict is for the Plaintiff, and you
                are to sign at the bottom, and the Court will enter judgment
                accordingly. However, if you answered “Yes,” then please answer
                nos. 2- 5.




   Defendant objects to Question 1 on the following grounds:
         1.     There is no predicate Question on breach of contract.
         2.     The Question is vague and ambiguous using the words “to on”
                together.
         3.     The Question, and the instruction regarding the implications of the
                answer on the verdict, are incorrect under the law as they do not
                provide all circumstances under which policy is voided. See Fla. Stat.
                Ann. § 627.409.
         4.     Also, the Question and instruction regarding the implications of the
                answer on the verdict, are incorrect under the law as they incorrectly
                assume the Plaintiff has met its burden of proof on contract formation
                and on the performance of conditions precedent.




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                                Page 25
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 26 of 76




         2.     If you answered “Yes” to no. 1, do you find that the agents knew of
                Mr. Geter’s HIV status and that the answer to question no. 28 should
                have been “yes.?”

                Yes _________,                  No _________



   Defendant objects to Question 2 on the following grounds:

         1.     It is an inapplicable question under the circumstances presented here.
                The terms of the Application itself provided “No agent has authority
                to waive any answer or otherwise modify this application or to bind
                Liberty Bankers Life Insurance Company, hereinafter called
                ‘Company’, in any way by making any promises or representation
                which is not set out in writing in this Application.” Accordingly, the
                agents could not bind Liberty to contracting because the written
                application expressly states that they could not. See Almerico v. RLI
                Ins. Co., 716 So. 2d 774, 781 (Fla. 1998). Moreover, by this
                language, Plaintiff was put on notice to inquire as to the actual
                authority of the agents and Liberty is not bound to their
                representations. Id.

         2.     It is an inapplicable question under these circumstances because the
                agents were independent brokers, and the evidence will show that
                Plaintiff knew that. As such, Plaintiff knew of the limitations on
                actual authority. See id.

         3.     Moreover, following Almerico, the Supreme Court in Essex, supra,
                made it clear that when independent brokers are involved, the acts of
                the broker are imputable not to the insurer, but instead to the insured.
                See Essex Ins. Co. v. Zota, 985 So.2d 1036, 1046 (Fla.2008).




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                                 Page 26
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 27 of 76




         3.     If you answered “Yes” to no. 1, do you find that the Agents acted as
                the Agents of Liberty?

                Yes _________,                 No _________



   Defendant objects to Question 3 on the following grounds:

         1.     The Question is vague and ambiguous.

         2.     The Question impermissibly fails to distinguish between captive
                agents and independent agents/brokers as required by Essex, supra.

         3.     The Question impermissibly fails to account for the decisions in Essex
                and Almerico and limitations on the authority of agents when the
                Plaintiff has knowledge of those limitations or they are expressly
                provided in the application such that the Plaintiff is put on inquiry
                notice of same.




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                                Page 27
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 28 of 76




         4.     If you answered “Yes” to no. 1, did Liberty waive its right to rescind
                the policy by failing to have John Geter undergo a medical exam
                before accepting his premiums and issuing the policy?

                Yes _________,                   No _________



   Defendant objects to Question 4 on the following grounds:

         1.     The Question is not properly premised on the applicable law. See Fla.
                Stat. Ann. § 627.409; Essex, supra; Almerico, supra. In fact, it is
                clear under both Florida statutory and case law that an insurer has no
                duty to investigate information provided by an applicant. See Sciaretta
                v. Lincoln Nat. Life Ins. Co., 899 F. Supp. 2d 1318, 1330 (S.D. Fla.
                2012); Fla. Stat. § 627.404(3) (2011) (“An insurer shall be entitled to
                rely upon all statements, declarations, and representations made by an
                applicant for insurance relative to the insurable interest which such
                applicant has in the insured....”); United Auto. Ins. Co. v. Salgado, 22
                So.3d 594, 601 (Fla. 3d DCA 2009) (“[A]n insurance company has
                the right to rely on an applicant's representations in an application for
                insurance and is under no duty to further investigate”) (quoting N.
                Miami Gen. Hosp. v. Cent. Nat'l Life Ins. Co., 419 So.2d 800, 802
                (Fla. 3d DCA 1982)).

         2.     The Question is not premised on an instruction that properly states the
                applicable requirements for waiver.




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                                  Page 28
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 29 of 76




         5.     If you answered “Yes” to no. 1, did Liberty have constructive
                knowledge of Mr. Geter’s HIV status from other sources before
                issuing the subject policy?

                Yes _________,                  No,_________

                If your answer was “Yes” to any of the questions, no. 2 - 5, then your
                verdict is for the Plaintiff. If you answered “Yes” to No. 1 and “No”
                to each of the questions, no. 2-5, then your verdict is for the
                Defendant. Either way, sign the verdict form below, and the Court
                will enter judgment accordingly.
                                                        _________________________
                                                        Jury Foreperson
                                                        Dated ______________, 2016



   Defendant objects to Question 5 on the following grounds:

         1.     It is an inapplicable question under the circumstances presented here.
                The terms of the Application itself provided “No agent has authority
                to waive any answer or otherwise modify this application or to bind
                Liberty Bankers Life Insurance Company, hereinafter called
                ‘Company’, in any way by making any promises or representation
                which is not set out in writing in this Application.” Accordingly, the
                agents could not bind Liberty to contracting because the written
                application expressly states that they could not. See Almerico v. RLI
                Ins. Co., 716 So. 2d 774, 781 (Fla. 1998). Moreover, by this
                language, Plaintiff was put on notice to inquire as to the actual
                authority of the agents and Liberty is not bound to their
                representations. Id.

         2.     It is an inapplicable question under these circumstances because the
                agents were independent brokers, and the evidence will show that
                Plaintiff knew that. As such, Plaintiff knew of the limitations on
                actual authority. See id.

         3.     Moreover, following Almerico, the Supreme Court in Essex, supra,
                made it clear that when independent brokers are involved, the acts of
                the broker are imputable not to the insurer, but instead to the insured.

   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                                 Page 29
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 30 of 76




                See Essex Ins. Co. v. Zota, 985 So.2d 1036, 1046 (Fla.2008).

         4.     Further, constructive knowledge of misrepresentations does not
                foreclose the denial of coverage. See Fla. Stat. Ann. § 627.409; Essex,
                supra; Almerico, supra. In fact, it is clear under both Florida statutory
                and case law that an insurer has no duty to investigate information
                provided by an applicant. See Sciaretta v. Lincoln Nat. Life Ins. Co.,
                899 F. Supp. 2d 1318, 1330 (S.D. Fla. 2012); Fla. Stat. § 627.404(3)
                (2011) (“An insurer shall be entitled to rely upon all statements,
                declarations, and representations made by an applicant for insurance
                relative to the insurable interest which such applicant has in the
                insured....”); United Auto. Ins. Co. v. Salgado, 22 So.3d 594, 601 (Fla.
                3d DCA 2009) (“[A]n insurance company has the right to rely on an
                applicant's representations in an application for insurance and is under
                no duty to further investigate”) (quoting N. Miami Gen. Hosp. v. Cent.
                Nat'l Life Ins. Co., 419 So.2d 800, 802 (Fla. 3d DCA 1982)).

         5.     The Question is objectionable because it is not premised on an
                instruction that properly states the applicable requirements for
                “constructive knowledge.”

         Objections to the Statement Following Question No. 5:

          The Defendant objects to the statement following Question No. 5 as to the
   effect of answers to the preceding questions because, as is set forth above, and
   incorporated herein by reference, the statement relies on inaccurate assumptions
   about the adequacy of all of the instructions and questions proposed by the
   Plaintiff; none of which correctly state the current or applicable governing law in
   this case.




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                                  Page 30
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 31 of 76




   DEFENDANT’S REQUESTS

         The Defendant respectfully requests that the Court instruct the jury, require

   that the jury answer the interrogatories and to complete the verdict form as follows:

   JURY INSTRUCTION 1

   Clara Gilbert (“Plaintiff”) claims that she and Liberty Bankers Life Insurance
   Company (“Liberty”) entered into a contract for life insurance on the life of her
   son, John Geter III (“Geter”) in the amount of $100,000 pursuant to an
   Application originally executed on or about September 15, 2011 as amended on or
   about September 29, 2011. Gilbert claims that Liberty breached this contract by
   denying coverage and that the breach resulted in damages to Gilbert.

   Liberty claims that Gilbert and Geter engaged in misrepresentation or fraud in the
   application for insurance on Geter’s life as amended (the “Application”) in
   answering “No” to Question Number 28 which asked:

      Has the Proposed Insured been tested positive for exposure to the HIV infection
      or been diagnosed as having ARC or AIDS caused by the HIV infection or other
      sickness or condition derived from such infection?

   Liberty also contends that a contract to insure Geter’s life was never formed
   because any policy issued by Liberty on Geter’s life was conditional on the return
   of the Amendment to Application (“Amendment”) signed by Gilbert and Gilbert
   has claimed that her signature on that Amendment was forged.

   Liberty also claims the following additional affirmative defenses to any claim or
   recovery by Gilbert:

         1.     Gilbert engaged in negligent misrepresentation in connection
                with the application for life insurance on Geter’s life;

         2.     Geter engaged in negligent misrepresentation in connection
                with the application for life insurance on his life;

         3.     Gilbert has unclean hands;



   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                                 Page 31
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 32 of 76




         4.     Gilbert failed to comply with the conditions precedent to
                recovering;

         5.     Gilbert misrepresented the authenticity of her signature to
                Liberty on the Amendment to the application for policy on
                Geter’s life and is equitably estopped from recovering;

         6.     Gilbert knew that Sanpharisi was an independent agent or
                broker;

         7.     Gilbert knew that Palacios an independent agent or broker;

         8.     The written Application signed by Gilbert on the life of Geter
                expressly provided that “No agent has authority to waive any
                answer or otherwise modify this application to bind Liberty
                Bankers Life Insurance Company, hereinafter called
                “Company”, in any way by making any promises or
                representation which is not set out in writing in this
                Application” and Gilbert either knew or was put on notice that
                the agent’s authority was limited;


   Liberty further contends that Gilbert aided or abetted Sanpharisi in breaching his
   fiduciary duties to Liberty and that she engaged in a conspiracy with Sanpharisi to
   defraud or misrepresent Geter’s HIV history in making application to Liberty.

   Granted      _____________

   Denied       _____________

   Plaintiff’s Objection to Defendant’s Proposed Jury Instruction No. 1

          The proposed instruction mis-states the facts and the law. An insurer may
   not deny coverage under this statute if the alleged misrepresentation was in
   response to an ambiguous question. Any such ambiguity must be construed
   against the insurer and in favor of coverage. Mercury Ins. Co. v. Markham, 36
   So.3d 730, 733 (Fla. 1st DCA 2010). An insurer is generally charged with
   knowledge which has been communicated to the agent by the insured. S. Rack &
   Ladder, Inc. v. Sexton, 474 So.2d 847, 849 (Fla. 1st DCA. 1985). If an applicant
   fully states the facts to the agent at the time of the application but the agent writes
   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                                     Page 32
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 33 of 76




   the answers incorrectly or contrary to the facts stated by the applicant, the
   insurance company is estopped from making a defense in an action on the policy
   by reason of the incorrect application. Stix v. Continental Assur. Co., 3 So. 2d 703,
   707 (Fla. 1998). the Eleventh Circuit found that “an essential prerequisite to the
   application of (§627.409) is that the insured make an inaccurate statement in his
   application. William Penn Life Ins. Co. Of New York v. Sands, 912 F.2d 1359,
   1362 (11th Cir. 1990).

          An insurance broker may act in the dual capacity of broker for the insured
   and agent of the insurer. Almerico v. RLI Ins. Co., 716 So.2d 774 (Fla. 1998);
   Steele v. Jackson Nat’l Life Ins. Co., 691 So.2d 525, 527 (Fla. 5th DCA 1997)
   (acknowledging that “an independent insurance agent can be the agent of the
   insurance company for one purpose and the agent of the insured for another.”).
   Evidence of indicia of agency may be demonstrated if the insurer furnishes an
   insurance agent or agency with “any blank forms, applications, stationery, or other
   supplies to be used in soliciting, negotiating, or effecting contracts of insurance.”
   Almerico v. RLI Ins. Co., 716 So.2d 774 (Fla. 1998); Zawilski v. Golden Rule Ins.
   Co., 2011 WL 33359658 (M.D. Fla. 2011).Johnson v. Life Ins. Co. of Georgia, 52
   So.2d 813 (Fla. 1951). Where an insurer is on notice that it must itself make
   further inquiries about the insured’s health, it is bound by what a reasonable
   investigation would have shown. Cox v. American Pioneer Life Ins. Co., 626 So2d
   243 (Fla. 5th DCA 1993), Wimberg v. Chandler, 986 F. Supp 1447 (MD Fl 1997).




   Source: Standard Jury Instructions – Contract and Business Cases (No. SC12-
   1931 Supreme Court of Florida, June 6, 2013).




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                                  Page 33
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 34 of 76




      JURY INSTRUCTION 2

      To establish a fraudulent misrepresentation, omission, concealment or
   statement by a person, Liberty must prove all of the following:

         1.     The person made a representation, omission, concealment or
                statement in the Application that was material to the transaction;

         2.     The person knew that it was false;
         3.     The person made the representation, omission, concealment or
                statement to persuade Liberty to agree to the policy;

         4.     Liberty relied on the representation, omission, concealment or
                statement; and
         5.     Liberty would not have agreed to the policy if it had known that the
                representation, omission, concealment or statement was false.

       On this defense, Liberty may rely on a false statement, even though its falsity
   could have been discovered if Liberty had made an investigation. However, Liberty
   may not rely on a false statement if it knew it was false or its falsity was obvious to
   it. In making this determination, you should consider the totality of the
   circumstances surrounding the type of information transmitted, the nature of the
   communication between the parties, and the relative positions of the parties.

   Granted      _____________

   Denied       _____________

   Plaintiff’s Objection Defendant’s Proposed Jury Instruction to No. 2

          The proposed instruction mis-states the facts and the law. An insurer may
   not deny coverage under this statute if the alleged misrepresentation was in
   response to an ambiguous question. Any such ambiguity must be construed
   against the insurer and in favor of coverage. Mercury Ins. Co. v. Markham, 36
   So.3d 730, 733 (Fla. 1st DCA 2010). An insurer is generally charged with
   knowledge which has been communicated to the agent by the insured. S. Rack &
   Ladder, Inc. v. Sexton, 474 So.2d 847, 849 (Fla. 1st DCA. 1985). If an applicant
   fully states the facts to the agent at the time of the application but the agent writes

   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                                     Page 34
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 35 of 76




   the answers incorrectly or contrary to the facts stated by the applicant, the
   insurance company is estopped from making a defense in an action on the policy
   by reason of the incorrect application. Stix v. Continental Assur. Co., 3 So. 2d 703,
   707 (Fla. 1998). the Eleventh Circuit found that “an essential prerequisite to the
   application of (§627.409) is that the insured make an inaccurate statement in his
   application. William Penn Life Ins. Co. Of New York v. Sands, 912 F.2d 1359,
   1362 (11th Cir. 1990).

          An insurance broker may act in the dual capacity of broker for the insured
   and agent of the insurer. Almerico v. RLI Ins. Co., 716 So.2d 774 (Fla. 1998);
   Steele v. Jackson Nat’l Life Ins. Co., 691 So.2d 525, 527 (Fla. 5th DCA 1997)
   (acknowledging that “an independent insurance agent can be the agent of the
   insurance company for one purpose and the agent of the insured for another.”).
   Evidence of indicia of agency may be demonstrated if the insurer furnishes an
   insurance agent or agency with “any blank forms, applications, stationery, or other
   supplies to be used in soliciting, negotiating, or effecting contracts of insurance.”
   Almerico v. RLI Ins. Co., 716 So.2d 774 (Fla. 1998); Zawilski v. Golden Rule Ins.
   Co., 2011 WL 33359658 (M.D. Fla. 2011).Johnson v. Life Ins. Co. of Georgia, 52
   So.2d 813 (Fla. 1951). Where an insurer is on notice that it must itself make
   further inquiries about the insured’s health, it is bound by what a reasonable
   investigation would have shown. Cox v. American Pioneer Life Ins. Co., 626 So2d
   243 (Fla. 5th DCA 1993), Wimberg v. Chandler, 986 F. Supp 1447 (M.D. Fla.
   1997).

   Sources: See Standard Jury Instructions – Contract and Business Cases, No. 416.4
   (No. SC12-1931 Supreme Court of Florida, June 6, 2013).
   See also Fla. Stat. Ann. § 627.409; Telestrata, LLC v. NetTALK.com, Inc., 126 F.
   Supp. 3d 1344, 1352 (S.D. Fla. 2015).




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                                  Page 35
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 36 of 76




      JURY INSTRUCTION 3

       To determine if a fact is “material” one inquires as to whether it could possibly
   influence the mind of a prudent and intelligent insurer in determining whether he
   would accept the risk.

   Granted        _____________

   Denied         _____________

   Plaintiff’s Objection Defendant’s Proposed Jury Instruction to No.3

   Materiality is defined in §627.409 itself


      Sources: See AIG Centennial Ins. Co. v. O'Neill, 782 F.3d 1296, 1303 (11th
   Cir. 2015); Kilpatrick Marine Piling v. Fireman's Fund Ins. Co., 795 F.2d 940,
   942–43 (11th Cir.1986).




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                                 Page 36
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 37 of 76




          JURY INSTRUCTION 4

         Liberty has raised the defense of negligent misrepresentation. To establish
   negligent misrepresentation, Liberty must prove all of the following:

          1. there was a misrepresentation of material fact;

          2. the representor either knew of the misrepresentation, made the
             misrepresentation without knowledge of its truth or falsity, or should
             have known the representation was false;

          3. the representor intended             to   induce     Liberty     to   act    on    the
             misrepresentation; and

          4. injury resulted to Liberty acting in justifiable reliance upon the
             misrepresentation.



   Granted       _____________

   Denied        _____________


   Plaintiff’s Objection Defendant’s Proposed Jury Instruction to No.4

   Negligent Misrepresentation is not a valid defense - and is encompassed by the definition under
   §627.409. An additional, but different instruction will serve only to confuse the jury.




   Sources: Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1259 (11th Cir.2014);
   Tynes v. Buccaneers Ltd. P'ship, No. 8:15-CV-1594-T-30AEP, 2015 WL 5680135,
   at *4 (M.D. Fla. Sept. 24, 2015).




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                                            Page 37
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 38 of 76




   JURY INSTRUCTION 5

          Liberty has raised the defense of unclean hands. In order to establish
          unclean hands, Liberty must establish the following:
                  1.     Gilbert’s wrongdoing is directly related to the claim, and
                  2.     Liberty was personally injured by the wrongdoing.




   Granted        _____________

   Denied         _____________

   Plaintiff’s Objection Defendant’s Proposed Jury Instruction to No. 5

   “Unclean Hands” is not a valid defense to an action for breach of contract, particularly one for a
   breach of an insurance policy. It is only a defense to an action in equity, such as injunctive
   relief, equitable distribution, etc. The case cited by Defendant, Bailey v. TitleMax, 776 F.3d 797
   (11th Cir. 2015) hold that when a company knows or should know a worker is under-reporting his
   or her hours, the firm can’t use the employee’s role to diminish its own responsibility under the
   Fair Labor Standards Act. Courts of equity have no power to overrule established law. Orr v.
   Trask, 464 So.2d 131 (Fla. 1985). The existence of a legal remedy bars an equitable cause of
   action. Intercoastal Realty, Inc., v. Tracy, 706 F. Supp. 2d 1325 (S.D. Fla. 2010).


   Source: Bailey v. TitleMax of Georgia, Inc., 776 F.3d 797, 801 (11th Cir. 2015);




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                                              Page 38
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 39 of 76




      JURY INSTRUCTION 6

      Liberty has raised the defense of equitable estoppel. To establish this defense,
   Liberty must establish the following:

      1.         a representation by Gilbert to Liberty as to some material fact, which
                 representation is contrary to the condition of affairs later asserted by
                 Gilbert;

      2.         a reliance upon this representation by Liberty;

      3.         a change in Liberty’s position, caused by the representation and
                 Liberty’s reliance thereon.


   Granted       _____________

   Denied        _____________

   Plaintiff’s Objection Defendant’s Proposed Jury Instruction to No. 6

   “Equitable Estoppel” was not raised as an affirmative defense in Defendant's Answer and is
   not a valid defense to an action for breach of contract, particularly one for a breach of an
   insurance policy, and would be subsumed by §627.409. Moreover, it misstates the law, and
   would be confusing to the jury.



   Source: See United States Life Ins. Co. in the City of New York v. Logus Mfg.
   Corp., 845 F. Supp. 2d 1303, 1318 (S.D. Fla. 2012); Travelers Indem. Co. v.
   Swanson, 662 F.2d 1098, 1102 (5th Cir.1981) (citing Florida law).




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                                         Page 39
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 40 of 76




         JURY INSTRUCTION 7

         An independent agent is licensed to sell coverage for several carriers
         whereas a captive agent is one licensed to sell coverage for only one carrier.




   Granted      _____________

   Denied       _____________

   Plaintiff’s Objection Defendant’s Proposed Jury Instruction to No. 7


         Defendant’s proposed instruction misstates the law and would confuse the
         jury. An insurance broker may act in the dual capacity of broker for the
         insured and agent of the insurer. Almerico v. RLI Ins. Co., 716 So.2d 774
         (Fla. 1998); Steele v. Jackson Nat’l Life Ins. Co., 691 So.2d 525, 527 (Fla.
         5th DCA 1997) (acknowledging that “an independent insurance agent can be
         the agent of the insurance company for one purpose and the agent of the
         insured for another.”). Evidence of indicia of agency may be demonstrated if
         the insurer furnishes an insurance agent or agency with “any blank forms,
         applications, stationery, or other supplies to be used in soliciting,
         negotiating, or effecting contracts of insurance.” Almerico v. RLI Ins. Co.,
         716 So.2d 774 (Fla. 1998); Zawilski v. Golden Rule Ins. Co., 2011 WL
         33359658 (M.D. Fla. 2011).Johnson v. Life Ins. Co. of Georgia, 52 So.2d
         813 (Fla. 1951). Where an insurer is on notice that it must itself make
         further inquiries about the insured’s health, it is bound by what a reasonable
         investigation would have shown. Cox v. American Pioneer Life Ins. Co., 626
         So2d 243 (Fla. 5th DCA 1993), Wimberg v. Chandler, 986 F. Supp 1447
         (M.D. Fla. 1997).


         Source: Steele v. Jackson Nat. Life Ins. Co., 691 So. 2d 525, 527-28 (Fla.
         Dist. Ct. App. 1997).




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                                 Page 40
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 41 of 76




   JURY INSTRUCTION 8

   A broker represents the insured by acting as a middleman between the insured and
   the insurer, soliciting insurance from the public under no employment from any
   special company, and, upon securing an order, places it with a company selected
   by the insured, or if the insured has no preference, with a company selected by the
   broker.

   Granted      _____________

   Denied       _____________


   Plaintiff’s Objection Defendant’s Proposed Jury Instruction to No. 8


   Defendant’s proposed instruction misstates the law and would confuse the jury.
   An insurance broker may act in the dual capacity of broker for the insured and
   agent of the insurer. Almerico v. RLI Ins. Co., 716 So.2d 774 (Fla. 1998); Steele v.
   Jackson Nat’l Life Ins. Co., 691 So.2d 525, 527 (Fla. 5th DCA 1997)
   (acknowledging that “an independent insurance agent can be the agent of the
   insurance company for one purpose and the agent of the insured for another.”).
   Evidence of indicia of agency may be demonstrated if the insurer furnishes an
   insurance agent or agency with “any blank forms, applications, stationery, or other
   supplies to be used in soliciting, negotiating, or effecting contracts of insurance.”
   Almerico v. RLI Ins. Co., 716 So.2d 774 (Fla. 1998); Zawilski v. Golden Rule Ins.
   Co., 2011 WL 33359658 (M.D. Fla. 2011).Johnson v. Life Ins. Co. of Georgia, 52
   So.2d 813 (Fla. 1951). Where an insurer is on notice that it must itself make
   further inquiries about the insured’s health, it is bound by what a reasonable
   investigation would have shown. Cox v. American Pioneer Life Ins. Co., 626 So2d
   243 (Fla. 5th DCA 1993), Wimberg v. Chandler, 986 F. Supp 1447 (M.D. Fla.
   1997).

   Source:             Essex Ins. Co. v. Zota, 985 So. 2d 1036, 1046 (Fla. 2008)




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                                   Page 41
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 42 of 76




   JURY INSTRUCTION 9
   An agent’s acts are not binding on Liberty if Gilbert knew the agent’s authority
   was limited or the circumstances of the transaction put her on notice to inquire as
   to his actual authority.
   An agent’s acts cannot bind Liberty when the Application states that the agent
   cannot do so. Moreover, when an Application limits the agents authority, a person
   is put on notice to inquire as to the actual authority of that agent and the insurer is
   not bound by his representations.


   Granted      _____________

   Denied       _____________

   Plaintiff’s Objection Defendant’s Proposed Jury Instruction to No. 9


   Defendant’s proposed instruction misstates the law and would confuse the jury.
   An insurance broker may act in the dual capacity of broker for the insured and
   agent of the insurer. Almerico v. RLI Ins. Co., 716 So.2d 774 (Fla. 1998); Steele v.
   Jackson Nat’l Life Ins. Co., 691 So.2d 525, 527 (Fla. 5th DCA 1997)
   (acknowledging that “an independent insurance agent can be the agent of the
   insurance company for one purpose and the agent of the insured for another.”).
   Evidence of indicia of agency may be demonstrated if the insurer furnishes an
   insurance agent or agency with “any blank forms, applications, stationery, or other
   supplies to be used in soliciting, negotiating, or effecting contracts of insurance.”
   Almerico v. RLI Ins. Co., 716 So.2d 774 (Fla. 1998); Zawilski v. Golden Rule Ins.
   Co., 2011 WL 33359658 (M.D. Fla. 2011).Johnson v. Life Ins. Co. of Georgia, 52
   So.2d 813 (Fla. 1951). Where an insurer is on notice that it must itself make
   further inquiries about the insured’s health, it is bound by what a reasonable
   investigation would have shown. Cox v. American Pioneer Life Ins. Co., 626 So2d
   243 (Fla. 5th DCA 1993), Wimberg v. Chandler, 986 F. Supp 1447 (M.D. Fla.
   1997).


   Sources: Almerico v. RLI Ins. Co., 716 So. 2d 774, 780-81 (Fla. 1998); Brown v.
   Inter-Ocean Ins. Co., 438 F. Supp. 951, 952 (N.D. Ga. 1977).



   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                                   Page 42
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 43 of 76




   JURY INSTRUCTION 10:
          Liberty claims Gilbert aided or abetted Sanpharisi in breaching his
   fiduciary duties to Liberty. In order to establish this, Liberty must establish the
   following:
         1.     Sanpharisi owed a fiduciary duty to Liberty;
         2.     which Sanpharisi breached;
         3.     Gilbert knew about Sanpharisi’s breach; and
         4.     Gilbert substantially assisted with Sanpharisi’s breach.
   Granted      _____________

   Denied       _____________

   Plaintiff’s Objection Defendant’s Proposed Jury Instruction to No. 10

   There is no valid defense of “aiding and abetting,” and Defendant did not raise that as an
   Affirmative Defense in its Answer. Liberty Bankers has not sued its Agent for Aiding and
   Abetting. Defendant’s proposed instruction misstates the law and would confuse the
   jury for the reasons stated in response to nos. 7-9. It is for the jury to decide if the
   agents were acting as the agents of Liberty. Almerico v. RLI Ins. Co., 716 So.2d
   774 (Fla. 1998); Zawilski v. Golden Rule Ins. Co., 2011 WL 33359658 (M.D. Fla.
   2011).Johnson v. Life Ins. Co. of Georgia, 52 So.2d 813 (Fla. 1951).


   Sources: See Arbitrajes Financieros, S.A. v. Bank of Am., N.A., 605 F. App'x 820,
   824 (11th Cir. 2015).




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                                      Page 43
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 44 of 76




   JURY INSTRUCTION 11
   An insurance agent owes a fiduciary duty to an insurance company with whom it
   contracts.


   Granted      _____________

   Denied       _____________

   Plaintiff’s Objection Defendant’s Proposed Jury Instruction to No. 11


   Defendant’s proposed instruction misstates the law and would confuse the jury for
   the reasons stated in response to nos. 7-9. This is not an action by Liberty bankers
   against its Agent for Breach of Fiduciary Duty.


   Sources: See Hollingsworth v. Perry, 133 S. Ct. 2652, 2667, 186 L. Ed. 2d 768
   (2013) (“If the relationship between two persons is one of agency ..., the agent
   owes a fiduciary obligation to the principal.”).




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                                  Page 44
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 45 of 76




   JURY INSTRUCTION 12
   An insurance agent has a duty to disclose to an insurance company with whom it
   contracts all material facts relevant to the agency.
   See F.D.I.C. v. Floridian Title Grp. Inc., 972 F. Supp. 2d 1289, 1297 (S.D. Fla.
   2013).


   Granted      _____________

   Denied       _____________

   Plaintiff’s Objection Defendant’s Proposed Jury Instruction to No. 12


   Defendant’s proposed instruction regarding the Agenty’s duty to disclose misstates
   the law and would confuse the jury for the reasons stated in response to nos. 7-9.




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                               Page 45
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 46 of 76




   JURY INSTRUCTION 13
         Liberty claims that Gilbert engaged in a conspiracy with Sanpharisi to
   defraud Liberty. In order to establish this, Liberty must establish the following:
         1.     an agreement between Gilbert an Sanpharisi;
         2.     to do an unlawful act or a lawful act by an unlawful means;
         3.     the doing of some overt act in pursuance of the conspiracy; and
         4.     damage to Liberty as a result of the acts done under the conspiracy.


   Granted      _____________

   Denied       _____________

   Plaintiff’s Objection Defendant’s Proposed Jury Instruction to No. 13


   Defendant’s proposed instruction for “civil conspiracy” with its own agent, Jim
   Sanphasiri, is totally improper and Defendant has not raised that as a defense.




   Sources: Philip Morris USA, Inc. v. Russo, 175 So. 3d 681, 686 (Fla. 2015), reh'g
   denied (Sept. 25, 2015). See also Olesen v. Gen. Elec. Capital Corp., 135 So. 3d
   389, 398-99 (Fla. Dist. Ct. App. 2014); Auto-Owners Ins. Co. v. Johnson, Rast &
   Hays Ins. of S. Alabama, Inc., 820 F.2d 380, 383 (11th Cir. 1987)(fraud committed
   against insurer by insurance agency in connection with submission of false
   application for car insurance).




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                                  Page 46
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 47 of 76




      JURY QUESTIONS AND GENERAL VERDICT WITH ANSWERS TO
                           QUESTIONS
         The Defendants herein request that the Court submit the following questions
   and verdict form to the jury:


         We find in answer to the interrogatories submitted to us by the Court as
   follows:


         JURY QUESTION 1
         Had Geter tested positive for exposure to the HIV infection or been
         diagnosed as having ARC or AIDS caused by the HIV infection or other
         sickness or condition derived from such infection at the time the Application
         was signed?


         Answer “Yes” or “No”: _____________


   Granted      _____________


   Denied       _____________




         Source: Application Question No. 28




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                                Page 47
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 48 of 76




         If your answer is “Yes” then answer Questions 2-5. If your answer is no,
         skip to Question 16.


         JURY QUESTION 2


         Was the answer “No” to Question Number 28 in the Application regarding
         whether Geter had tested positive for exposure to the HIV infection or been
         diagnosed as having ARC or AIDS caused by the HIV infection or other
         sickness or condition derived from such infection complete and true to the
         best of Gilbert’s knowledge and belief on the date she signed the
         Application?


         Answer “Yes” or “No”: _____________


   Granted      _____________

   Denied       _____________




   Sources: Application Question No. 28 and Application Part 3(b).




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                              Page 48
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 49 of 76




         JURY QUESTION 3


         Was the answer “No” to Question Number 28 in the Application regarding
         whether Geter had tested positive for exposure to the HIV infection or been
         diagnosed as having ARC or AIDS caused by the HIV infection or other
         sickness or condition derived from such infection complete and true to the
         best of Geter’s knowledge and belief on the date he signed the Application?




         Answer “Yes” or “No”: _____________


   Granted      _____________

   Denied       _____________


   Sources: Application Question No. 28 and Application Part 3(b).




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                              Page 49
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 50 of 76




         JURY QUESTION 4


         Were all statements in the Application complete and true to the best of
         Gilbert’s knowledge and belief on the date she signed the Application?


         Answer “Yes” or “No”: _____________


         Granted      _____________

         Denied       _____________




         Sources: Application Part 3(b).




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                                   Page 50
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 51 of 76




         JURY QUESTION 5
         Were all statements in the Application complete and true to the best of
         Geter’s knowledge and belief on the date he signed the Application?


         Answer “Yes” or “No”: _____________


         Granted      _____________

         Denied       _____________




         Sources: Application Part 3(b).




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                          Page 51
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 52 of 76




         If you answered “No” to any of Questions 2-5, then answer Questions 6-18.
         If you answered “Yes” to all of Questions 2-5, go to Question 18.


         JURY QUESTION 6


         Did Gilbert make a fraudulent misrepresentation, omission, concealment or
         statement in the Application?


         Answer “Yes” or “No”: _____________


         Granted      _____________

         Denied       _____________



         Sources: Fla. Stat. Ann. § 627.409.




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                            Page 52
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 53 of 76




         JURY QUESTION 7


         Did Geter make a fraudulent misrepresentation, omission, concealment or
         statement in the Application?


         Answer “Yes” or “No”: _____________


         Granted      _____________

         Denied       _____________




         Source: Fla. Stat. Ann. § 627.409.




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                          Page 53
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 54 of 76




         JURY QUESTION 8


         Did Gilbert make a misrepresentation, omission, concealment or incorrect
         statement in the Application that was material to Liberty’s acceptance of the
         risk or to the hazard assumed by Liberty?


         Answer “Yes” or “No”: _____________


         Granted      _____________

         Denied       _____________




         Source: Fla. Stat. Ann. § 627.409.




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                                Page 54
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 55 of 76




         JURY QUESTION 9
         Did Geter make a misrepresentation, omission, concealment or incorrect
         statement in the Application that was material to Liberty’s acceptance of the
         risk or to the hazard assumed by Liberty?


         Answer “Yes” or “No”: _____________


         Granted      _____________

         Denied       _____________




         Source: Fla. Stat. Ann. § 627.409




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                                Page 55
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 56 of 76




         JURY QUESTION 10


         If the true facts had been known to Liberty, would Liberty in good faith have
         issued the $100,000 policy insuring Geter’s life?


         Answer “Yes” or “No”: _____________


         Granted      _____________

         Denied       _____________




         Source: Fla. Stat. Ann. § 627.409




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                                Page 56
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 57 of 76




         JURY QUESTION 11


         If the true facts had been known to Liberty, would Liberty in good faith have
         issued the $100,000 policy insuring Geter’s life at the same premium rate?


         Answer “Yes” or “No”: _____________


         Granted      _____________

         Denied       _____________




         Source: Fla. Stat. Ann. § 627.409




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                                Page 57
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 58 of 76




         JURY QUESTION 12


         If Liberty had known the true facts had been known to Liberty, would
         Liberty in good faith have issued a policy insuring Geter’s life in as large an
         amount?


         Granted      _____________

         Denied       _____________




         Answer “Yes” or “No”: _____________




         Source: Fla. Stat. Ann. § 627.409.




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                                  Page 58
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 59 of 76




         JURY QUESTION 13


         If the true facts had been known to Liberty, would Liberty in good faith have
         provided coverage for Geter’s death?


         Answer “Yes” or “No”: _____________


         Granted      _____________

         Denied       _____________




         Source: Fla. Stat. Ann. § 627.409.




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                                Page 59
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 60 of 76




         JURY QUESTION 14


         Did Gilbert engage in negligent misrepresentation in the Application?




         Answer “Yes” or “No”: _____________




         Granted      _____________

         Denied       _____________



   Sources: See Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1259 (11th
   Cir.2014); Tynes v. Buccaneers Ltd. P'ship, No. 8:15-CV-1594-T-30AEP, 2015
   WL 5680135, at *4 (M.D. Fla. Sept. 24, 2015).




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                                 Page 60
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 61 of 76




         JURY QUESTION 15


         Did Geter engage in negligent misrepresentation in the Application?




         Answer “Yes” or “No”: _____________




         Granted      _____________

         Denied       _____________



   Sources: See Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1259 (11th
   Cir.2014); Tynes v. Buccaneers Ltd. P'ship, No. 8:15-CV-1594-T-30AEP, 2015
   WL 5680135, at *4 (M.D. Fla. Sept. 24, 2015).




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                               Page 61
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 62 of 76




         JURY QUESTION 16


         Does Gilbert have unclean hands with respect to the Application?


         Answer “Yes” or “No”: _____________




         Granted      _____________

         Denied       _____________



         Source: See Bailey v. TitleMax of Georgia, Inc., 776 F.3d 797, 801 (11th
         Cir. 2015)




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                              Page 62
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 63 of 76




         JURY QUESTION 17


         Is Gilbert equitably estopped from recovering on its claims in this case?


         Answer “Yes” or “No”: _____________


         Granted      _____________

         Denied       _____________




   Source: See Standard Jury Instructions – Contract and Business Cases, No. 416.4
   (No. SC12-1931 Supreme Court of Florida, June 6, 2013).




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                                 Page 63
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 64 of 76




         JURY QUESTION 18
         Was the issuance of a $100,000 policy on Geter’s life conditional on the
         return of an amendment that was actually signed by Gilbert?


         Answer “Yes” or “No”: _____________


         Granted      _____________

         Denied       _____________


   Source: See Standard Jury Instructions – Contract and Business Cases, No. 416.21
   (No. SC12-1931 Supreme Court of Florida, June 6, 2013).




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                               Page 64
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 65 of 76




   If you answered Question 18 “Yes” then answer Questions 19-20. If you answered
   Question 18 “No” then skip Question 19 and answer Question 20.




   JURY QUESTION 19
         Did Gilbert prove that she actually signed the Amendment and returned it to
         Liberty?


         Answer “Yes” or “No”: _____________


         Granted      _____________

         Denied       _____________

   Source: See Standard Jury Instructions – Contract and Business Cases, No. 416.21
   (No. SC12-1931 Supreme Court of Florida, June 6, 2013).




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                               Page 65
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 66 of 76




         JURY QUESTION 20


         Was Sanphasiri an independent agent?


         Answer “Yes” or “No”: _____________


         Granted      _____________

         Denied       _____________




         Source: See Steele v. Jackson Nat. Life Ins. Co., 691 So. 2d 525, 527-28
         (Fla. Dist. Ct. App. 1997).




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                               Page 66
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 67 of 76




         If you answered Question 20 “Yes” then answer Question 21. If not, skip to
         Question 22.


         JURY QUESTION 21


         Did Gilbert know Sanphasiri was an independent agent at the time she
         signed the Application?


         Answer “Yes” or “No”: _____________


         Granted      _____________

         Denied       _____________




          Sources: See Steele v. Jackson Nat. Life Ins. Co., 691 So. 2d 525, 527-28
   (Fla. Dist. Ct. App. 1997); see also Almerico v. RLI Ins. Co., 716 So. 2d 774, 780-
   81 (Fla. 1998); Brown v. Inter-Ocean Ins. Co., 438 F. Supp. 951, 952 (N.D. Ga.
   1977).




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                                 Page 67
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 68 of 76




         JURY QUESTION 22


         Was Sanpharisi an insurance broker?


         Answer “Yes” or “No”: _____________


         Granted      _____________

         Denied       _____________




         Source: See Steele v. Jackson Nat. Life Ins. Co., 691 So. 2d 525, 527-28
         (Fla. Dist. Ct. App. 1997).




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                               Page 68
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 69 of 76




         If you answered Question 22 “Yes” then answer Questions 23-27. If not,
         skip Question 23 and answer Questions 24-27.


         JURY QUESTION 23


         Did Gilbert know Sanpharisi was an insurance broker at the time she signed
         the Application?


         Answer “Yes” or “No”: _____________




         Granted      _____________

         Denied       _____________




         Source: See Steele v. Jackson Nat. Life Ins. Co., 691 So. 2d 525, 527-28
         (Fla. Dist. Ct. App. 1997); see also Almerico v. RLI Ins. Co., 716 So. 2d 774,
         780-81 (Fla. 1998); Brown v. Inter-Ocean Ins. Co., 438 F. Supp. 951, 952
         (N.D. Ga. 1977).




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                                Page 69
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 70 of 76




         JURY QUESTION 24


         Did the Application state that “No agent has authority to waive any answer
         or otherwise modify this application to bind Liberty Bankers Life Insurance
         Company, hereinafter called “Company”, in any way by making any
         promises or representation which is not set out in writing in this
         Application”?


         Answer “Yes” or “No”: _____________



         Granted      _____________

         Denied       _____________



   Source: Application Part 3(c); see also Almerico v. RLI Ins. Co., 716 So. 2d 774,
   780-81 (Fla. 1998); Brown v. Inter-Ocean Ins. Co., 438 F. Supp. 951, 952 (N.D.
   Ga. 1977).




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                               Page 70
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 71 of 76




         JURY QUESTION 25


                Did the agents’ acts or representations bind Liberty to issue Gilbert a
                $100,000 policy on Geter’s life?


                Answer “Yes” or “No”: _____________


         Granted      _____________

         Denied       _____________




         Source: See Almerico v. RLI Ins. Co., 716 So. 2d 774, 780-81 (Fla. 1998);
         Brown v. Inter-Ocean Ins. Co., 438 F. Supp. 951, 952 (N.D. Ga. 1977).




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                                  Page 71
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 72 of 76




         JURY QUESTION 26


                Did Gilbert aid or abet Sanpharisi in breaching his fiduciary duties to
                Liberty?

                Answer “Yes” or “No”: _____________


         Granted      _____________

         Denied       _____________




         Source: See Arbitrajes Financieros, S.A. v. Bank of Am., N.A., 605 F. App'x
         820, 824 (11th Cir. 2015).




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                                  Page 72
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 73 of 76




         JURY QUESTION 27


                Did Gilbert engage in a conspiracy with Sanpharisi to defraud or
                misrepresent Geter’s HIV history in making application to Liberty?

                Answer “Yes” or “No”: _____________


         Granted      _____________


         Denied       _____________




         Source: See Philip Morris USA, Inc. v. Russo, 175 So. 3d 681, 686 (Fla.
         2015), reh'g denied (Sept. 25, 2015).




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                              Page 73
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 74 of 76




                                            VERDICT
   If your answer was “Yes” to any of Questions 6, 7, 8, 9, 14, 15, 16, 17, 24, 26 or
   27, then your verdict is for the Defendant.
   If your answer was “Yes” as to both Questions 20 and 21 or as to both 22 and 23,
   then your verdict is for the Defendant.
   If your answer is “No” as to any of Quesstions 10, 11, 12, 13 or 25, then your
   verdict is for the Defendant.
   If your answer is “No” to both Question Numbers 1 and 18, then your verdict is
   for the Plaintiff.


   Enter your verdict below and by placing an “X” in front of the appropriate party
   and sign the verdict form.


         We, the jury in this action, find for the:


         Plaintiff           ___________
         Defendant           ___________


   Dated: __________________


                                            ____________________
                                            Jury Foreperson

   Plaintiff’s Objection Defendant’s Proposed Verdict Form

   Defendant’s proposed verdict misstates the law and facts.




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                               Page 74
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 75 of 76




                                            Respectfully submitted,


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   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                                Page 75
Case 1:15-cv-21425-MGC Document 55 Entered on FLSD Docket 05/11/2016 Page 76 of 76




                              CERTIFICATE OF SERVICE

         I hereby certify that on April 20, 2016, a true and correct copy of the
   foregoing has been served via the U.S. District Court’s ECF system on the
   following counsel for Plaintiff:

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                                            /s/ David Zack
                                            David Zack




   DEFENDANT’S PROPOSED JURY INSTRUCTIONS
                                                                          Page 76
